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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

IMPLICIT, LLC,                                    §
                                                  §
                Plaintiff,                        §
                                                  §
v.                                                §
                                                  §
NETSCOUT SYSTEMS, INC.,                           §   CIVIL ACTION NO. 2:18-CV-00053-JRG
                                                  §
                                                  §
                Defendant.                        §

                    MINUTES FOR JURY TRIAL DAY FOUR
             HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                  December 12, 2019

OPEN: 8:31 a.m.                                                           ADJOURN: 3:28 p.m.

 ATTORNEYS FOR PLAINTIFF:                        See attached.

 ATTORNEYS FOR DEFENDANTS:                       See attached.

 LAW CLERKS:                                     Taylor Fitzner
                                                 Christian Chessman

 COURT REPORTER:                                 Shelly Holmes, CSR-TCRR

 COURTROOM DEPUTY:                               Jan Lockhart


 TIME           MINUTES
 8:31 a.m.      Court opened. Exhibits used prior day read into the record by Messrs. Wilson and Lang.
 8:34 a.m.      Jury returned to the courtroom. Cross of Kevin Jeffay, Ph.D. by Mr. Hosie.
 8:39 a.m.      Courtroom sealed. Cross of Kevin Jeffay, Ph.D. by Mr. Hosie.
 8:45 a.m.      Courtroom unsealed. Cross of Kevin Jeffay, Ph.D. by Mr. Hosie.
 8:57 a.m.      Redirect examination of Kevin Jeffay, Ph.D. by Mr. Buresh.
 9:01 a.m.      Recross examination of Kevin Jeffay Ph.D. by Mr. Hosie.
                Parties passed the witness.
 9:02 a.m.      Direct examination of Suzanne Stuckwisch by Mr. Kean.
 9:48 a.m.      Recess.
 10:05 a.m.     Court reconvened. Cross examination of Suzanne Stuckwisch by Mr. Davis.
 10:33 a.m.     Redirect examination of Suzanne Stuckwisch by Mr. Kean.
 10:36 a.m.     Defendant rests.
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 TIME         MINUTES
 10:37 a.m.   Direct examination of Kevin Almeroth, Ph.D. by Mr. Hurt.
 10:44 a.m.   Bench conference.
 10:46 a.m.   Direct examination of Kevin Almeroth, Ph.D. by Mr. Hurt.
 10:57 a.m.   Bench conference.
 11:01 a.m.   Courtroom sealed. Direct examination of Kevin Almeroth, Ph.D. by Mr. Hurt.
 11:02 a.m.   Courtroom unsealed. Direct examination of Kevin Almeroth, Ph.D. by Mr. Hurt.
 11:11 a.m.   Mr. Hurt passed the witness. Bench conference.
 11:13 a.m.   Cross examination of Kevin Almeroth, Ph.D. by Mr. Buresh.
 11:19 a.m.   Bench conference.
 11:21 a.m.   Cross examination of Kevin Almeroth, Ph.D. by Mr. Buresh.
 11:41 a.m.   Bench conference.
 11:43 a.m.   Parties passed the witness.
 11:45 am     Recess
 12:01 p.m.   Court reconvened
 12:05 p.m.   Jury excused until 8:00 a.m.
 12:07 p.m.   Court excused the attorneys until 2:00 p.m.
 2:08 p.m.    Court opened. Hearing outside the presence of the Jury. The Court heard argument on
              Rule 50(a) motions. Messrs. Wilson and Lang argued. The Court DENIED the
              motions.
 2:40 p.m.    The Court addressed the Court’s charge.
 2:43 p.m.    Recess.
 3:18 p.m.    Court reconvened. Formal charge conference. Messrs. Martin and Lang spoke on
              behalf of the parties.
 3:28 p.m.    Court adjourned.




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